                       IN THE UNITED STATES DISTRICT COURT 

                       FOR THE DISTRICT OF SOUTH CAROLINA 

                                BEAUFORT DIVISION 


The United States of America and the States of    )
North Carolina, California, Illinois, ex rei.     )
Scarlett Lutz, Kayla Webster, Dr. Michael         )
Mayes and Chris Riedel,                           ) CA No.: 9:14-cv-00230-RMG
                                                  ) (Consolidated with 9:11-cv-1593-RMG and
                      Plaintiffs,                 ) 9:15-cv-2485-RMG)
                                                  )
               vs.                                )
                                                  )
Berkeley Heartlab, Inc., BlueWave Healthcare      )
Consultants, Inc., Quest Diagnostics              )
Incorporated, Latonya Mallory, Floyd Calhoun      )                   ORDER
Dent, III and Robert Bradford Johnson,            )
                                                  )
                      Defendants.                 )
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       This matter is before the Court on three motions: (1) Defendants BlueWave, Dent, and

Johnson's Motion to Quash FDCPA Prejudgment Remedies (Dkt. No. 277); (2) a Motion to

Quash by Blue Eagle Farming, LLC, Eagle Ray Investments, LLC, Forse Investments, LLC, and

War-Horse Properties, LLLP (collectively, the "Johnson-related Entities") (Dkt. No. 274); and

(3) a Motion to Dissolve Prejudgment Attachments by Christina M. Dent, Lakelin Pines, LLC,

and Trini "D" Island, LLC (collectively, the "Dent-related Entities") (Dkt. No. 278). For the

reasons discussed below, the Court DENIES the motions.

                                        I. Background

       The United States intervened in this consolidated qui tam action against Defendants,

alleging False Claims Act and common law claims related to four alleged schemes involving




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laboratory blood testing. (Dkt. No. 75 (Government's complaint in intervention)).l On February

5,2016, the Government filed an application for prejudgment remedies under the Federal Debt

Collection Procedures Act (FDCPA), 28 U.S.C. § 3001 et seq. (Dkt. No. 173). The application

was accompanied by affidavits from Kendrick Bailey, an investigator with the U.S. Department

of Justice-Civil Division (Dkt. No. 173-3 (Ex. 18)), and Su Kim, a special agent for the U.S.

Department of Health and Human Services, Office of Investigations (Dkt. No. 173-2 (Ex. 6)).2

Kim's affidavit provided facts supporting the probable validity of the United States' claim for

debt (i. e., damages and penalties for FCA violations), identified the amount of debt claimed by

the United States, and outlined facts suggesting that Defendants had transferred property with the

effect of hindering, delaying, or defrauding the United States. Bailey's affidavit offered

additional facts suggesting that Defendants were transferring property with the effect of

hindering, delaying, or defrauding the United States.

       After reviewing the application and accompanying affidavits, the Court granted the

application in part and denied it in part, (Dkt. No. 178), and the Clerk of Court issued writs of

attachment and notices of prejudgment attachment and garnishment, (Dkt. Nos. 180-193).

       On April 4, 2016, Defendants BlueWave, Dent, and Johnson filed a motion to quash the

order granting the Government's application for FDCPA prejudgment remedies. On April 1,

2016, the Johnson-related Entities filed a motion to quash 47 prejudgment writs issued against

individual parcels of property owned by these various entities. On that same day, Christina Dent

and the Dent-related Entities filed a motion to dissolve prejudgment attachments as to 10

properties. The Johnson-related Entities, the Dent-related Entities, and Christina Dent are not



JFor a detailed discussion of Defendants' alleged schemes, see Dkt. No. 268. 

2Although Su Kim's affidavit is identified as a declaration rather than an affidavit in the 

government's filings, it satisfies the requirements of an affidavit pursuant to 28 U.S.C. § 1746. 

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parties to the underlying litigation. The Court heard oral argument on each of these motions on

May 5, 2016.

                                     II. FDCP A Framework

       The FDCPA provides the "exclusive civil procedures for the United States" to obtain a

prejudgment remedy in connection with a "claim for a debt." 28 U.S.c. § 3001. Subchapter B

governs prejudgment remedies in general, and SUbchapter D addresses remedies in the context of

fraudulent transfers involving debts. The Government applied for prejudgment remedies under

both subchapters. (Dkt. No. 173 at 6).

       The Government is entitled to prejudgment remedies under Subchapter B where it

establishes (l) the probable validity of the claim for a debt; (2) the amount of the debt claimed;

(3) that the debtor has or is about to assign, dispose, remove, conceal, ill-treat, waste, or destroy

property with the effect of hindering, delaying, or defrauding the United States; (4) that it has

satisfied all other statutory requirements; and (5) that the debtor has a substantial nonexempt

interest in the property against which a remedy is sought. See 28 U.S.C. §§ 31 01-3lO5.

       Under Subchapter D, the Government must establish that a transfer is fraudulent within

the meaning of28 U.S.C. § 3304. Once it has met this burden, the Government may rely on

"applicable principles of equity" to avoid the transfer, use a remedy against "the asset transferred

or other property of the transferee," or seek "any other relief the circumstances may require." Id.

at § 3306(a).

       The Court addresses the applicability of both subchapters below.




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                       III. Prejudgment Remedies Under Subchapter B

    1. 	 Whether the Government established the probable validity of the debt

       To seek prejudgment relief under Subchapter B, the FDCPA requires "an affidavit

establishing with particularity to the court's satisfaction facts supporting the probable validity of

the claim for a debt and the right of the United States to recover what is demanded in the

application." 28 U.S.C. § 3101(c)(1). The FDCPA defines "debt," in relevant part, as "an

amount that is owing to the United States on account of ... overpayment, fine, ... penalty, ...

damages, ... or other source of indebtedness to the United States." ld § 3002(3)(B).

       The Government seeks penalties on each claim for payment Defendants presented or

caused to be presented to Medicare and TRICARE, as well as treble damages under the FCA.

(See Dkt. No. 75 at 43-46). Further, the Government's common law claims effectively seek to

recover overpayments from Defendants for "certain sums of money to which they were not

entitled." (ld at 46-47). To support the validity of these claims, Su Kim's affidavit (Dkt. No.

173-3) makes the following assertions:

   • 	 Defendants BlueWave, Dent, and Johnson contracted for commission-based payments
       from two client laboratories in exchange for promoting lab tests that were reimbursed by
       federal healthcare programs, in violation of the Anti-Kickback Statute (AKS) and the
       FCA. (Id at ~ 5)

   • 	 BlueWave encouraged physicians to order tests from its laboratory clients by promoting
       the processing and handling fees paid by the laboratories as additional revenue for the
       physicians. Blue Wave also marketed the waiver of patients' coinsurance and deductibles
       by the laboratories. BlueWave received a percentage of the laboratories' collections from
       these sales. (ld at ~~ 11-12).

    • 	 Blue Wave and others systematically presented or caused false claims to be presented to
        Medicare and TRICARE for payment. (ld at ~ 13).

   • 	 Johnson and Dent coached BlueWave sales representatives to market the processing and
       handling fees. (ld at ~ 14).




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   • 	 BlueWave, Johnson, and Dent negotiated agreements with BlueWave's independent sales
       contractors that involved paying the contractors a portion of the kickbacks it received
       from the laboratories in violation ofthe AKS. (Id. at ~~ 16-24).

   • 	 BlueWave, Johnson, and Dent were directly involved in the kickback scheme involving
       processing and handling fees and the submission of medically unnecessary tests. (Id. at
       ~27).

       To reach these conclusions Kim personally investigated Johnson, Dent, and BlueWave

for payments from client laboratories involving medically unnecessary testing and involving

illegal kickbacks in the form of processing and handling fees. Kim and other special agents

interviewed BlueWave employees and independent contractors, physicians, physicians' staff, and

phlebotomists. In addition, Kim reviewed many documents responsive to subpoenas and

administrative investigative demands. (Id. at ~ 3).

       At a post-deprivation hearing, the Government and the debtor defendants generally

engage in a burden-shifting exercise where the debtor bears the initial burden of putting forward

evidence that places the Government's showing of the probable validity of the debt in dispute.

This may be done, for example, through the cross-examination ofthe Government's affiants or

challenging the reliability of sources of information. But where the affidavit is particularized

and the affiant's sources of information are reliable because they have personal knowledge of the

events to which they provided information, the debtor must come forward with "some

substantive evidence at the hearing."   u.s. ex rei Doe v. DeGregorio, 510 F. Supp. 2d 877,885
(M.D. Fla. 2007) (quoting and citing United States v. Teeven, 862 F.Supp. 1200, 1218 n. 24 (D.

Del. 1992)). Defendant debtors did not come forward with such substantive evidence in the May

5,2016 post-deprivation hearing.

       Instead of using the post-deprivation hearing and associated briefing to put the validity of

the claim for debt in dispute by providing factual evidence, Defendants and the Defendant­



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related entities made several legal arguments about why the debt is invalid. 3 The Court

addresses each argument below.

    a. Argument #1: The debt is invalid because it is not preexisting

       Defendants first argue that the Government has not demonstrated the probable validity of

the debt because it cannot show a "claim for a debt" within the meaning of § 3101 (c)(1). In

making this argument, Defendants rely on three canons of statutory construction. These

arguments are unavailing, both independently and in the aggregate.

       First, Defendants argue that because the FDCPA defines "debt" as "an amount that is

owing," the present tense definition requires a "preexisting debt" instead of a "potential, inchoate

debt that may someday be owed." (Dkt. No. 277-1 at 15). To support this interpretation,

Defendants cite United States v. Cap Quality Care, Inc., 400 F. Supp. 2d 295, 299 (D. Me. at

2005). In Cap Quality Care, Inc., however, the court held that assertions that the Government

paid defendants for services that violated the rules for reimbursement under a federal health

program constituted a sum that "is owing on account of ... overpayment" under § 3002(3)(B).

Here, the same interpretation holds true.




3 This post-deprivation hearing was somewhat unusual in that the moving parties declined to call
any live witnesses. (See Dkt. No. 298 (letter from all of the hearing participants)). The United
States was prepared to offer live testimony to provide additional support for its application or
rebut arguments to quash the order granting prejudgment remedies, but the Court issued a text
order declining to allow such testimony. (Dkt. No. 299). The statutory text of the FDCPA
appears to require all of the necessary information presented by the Government in support of
prejudgment remedies to appear in the application and affidavit, even if the practical effect of
granting a motion on this ground is often simply a brief delay in upholding the prejudgment
remedies. See, e.g., United States v. Teeven, 862 F. Supp. 1200 (D. Del. 1992) (upholding
previously quashed prejudgment remedies that were reinstituted following the amendment of an
application accompanied by a deficient affidavit). Absent direct testimony from live witnesses
on behalf of the movants, the Court saw no need for the Government to have live-testimony
rebuttal witnesses.


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       Kim's affidavit clearly articulates allegations that Medicare and TRICARE payments

were made for services that violated the AKS. If true, these payments are overpayments like the

ones in Cap Quality Care, Inc. Further, courts have held that "a party that violates the FCA

incurs a debt to the government as soon as the government pays the fraudulent claim. Thus by

alleging that the defendants submitted false claims and made false statements under the FCA, the

government sufficiently alleges the existence of a debt under the FDCPA." United States v. First

Choice Armor & Equip., Inc., 808 F. SUpp. 2d 68, 79 (D.D.C. 2011) (internal citation omitted);

see also U.S. ex reI Doe v. DeGregorio, 510 F. Supp. 2d 877,884 (M.D. Fla. 2007) ("Treble

damages under the False Claims Act likewise constitutes 'debt. '''); cf United States v.

Lighthouse Disaster Relief, No. 06-161-D-M2, 2006 U.S. Dist. LEXIS 96195, at *9 (discussing

FDCPA in context of FEMA contract, court held that "there is no need for the' debt' to be

liquidated or otherwise preexisting"). In short, the Government's claims are for a debt that is

presently owing.

       Defendants next argue that the FDCPA's structure supports the textual argument that the

debt must be preexisting. The thrust of this argument is that the FDCP A allows prejudgment

remedies on a claim for a debt, 28 U.S.C. § 3001(a)(2), but this language appears in Subchapter

A of the FDCPA. The FDCPA does not define "claim" until Subchapter D. And although the

definition contained in Subchapter D would encompass the Government's interpretation ofthe

statute-'''Claim' means a right to payment, whether or not the right is reduced to judgment,

liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,

equitable, secured, or unsecured," id. § 330 1(3)--the Court must construe the earlier use of claim

to mean something more narrow because not doing so would render the definition superfluous.

(Dkt. No. 277-1 at 16-17).



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        The Court is unpersuaded by this argument, and Defendants have failed to provide a

plausible alternative definition for the word "claim." Even if the Court were to use Black's Law

Dictionary's definitions ofthe word "claim" instead of the statutory definition, the essence of the

word is that a claim is a "statement of something yet to be proved is true." The Government has

not yet proven the existence of the debt, but the underlying actions that gave rise to the alleged

debt have already occurred, hence the need to make a claim.

        Finally, Defendants point to the FDCP A's legislative history to support an alternative

interpretation of the statute. (Dkt. No. 277-1 at 17-18). Absent some statutory ambiguity not

shown here, the Court finds no need to conduct an inquiry into the statute's legislative history

and declines to do so. See Ratzlalv. United States, 510 U.S. 135, 147-48 (1994) ("[W]e do not

resort to legislative history to cloud a statutory text that is clear.").

        Defendant's attempt to claim that the alleged debt is not preexisting is an

oversimplification of both the statute and the Government's assertions. The FDCPA expressly

allows prejudgment remedies, which, by definition, means that debts have not yet been

conclusively reduced to specific, finite amounts by the court. In addition, the Government must

do much more than say, "We believe Defendants might owe us some money for something

someday." Instead, the Government must articulate and aver a set of facts that, if proven to be

true, would establish that Defendants owe the Government a debt in a form recognized in

§ 3002(3)(B). The Government has done so here. In other words, the Government's claim is for

a preexisting debt, and the reason that it is a claim is because the debt's factual existence has not

yet been proven and reduced to a judgment.




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   b. Argument #2: The FDCPA 's "probable validity" standard presents a Due Process issue

       In the alternative, Defendants make a Fifth Amendment Due Process argument regarding

the FDCPA and governmental deprivations of life, liberty, or property. (Dkt. No. 277-1 at 18­

21). Relying on Mathews v. Eldridge, 424 U.S. 319, 335 (1976), they propose that the standard

by which the Court should review the government's application for prejudgment remedies is

"likelihood of success" instead of "probable validity." This constitutional challenge is

unwarranted.

       First, courts regularly apply the FDCPA in prejudgment remedy situations without

concern for the statute's constitutionality. See, e.g.,   us. ex rei Doe v. DeGregorio, 510 F. Supp.
2d 877, 880 (M.D. Fla. 2007); United States v. Teeven, 862 F. Supp. 1200, 1207 (D. Del. 1992).

Second, Mathews provides no support for Defendants' position. The Court in Matthews held that

the administrative procedures in question fully comported with due process, 424 U.S. at 349, and

courts that have considered due process challenges to the FDCPA have favored the statute's

constitutionality, see, e.g., NLRB v. E.D.P. Med. Comput. Sys., Inc., 6 F.3d 951, 956 (2d Cir.

1993). Third, the statutory safeguards in place-that is, the mechanisms by which Defendants

requested the hearing in this matter and seek to quash the motion granting the writs--ensure that

there is sufficient due process.

    c. 	 Argument #3: Defendants had no intent to violate the AKS and there was no "knowing
         violation"

        Defendants next argue that the probable validity of the Government's claim for debt is

"in dispute" because (l) there is no evidence of Defendants' criminal intent to support an AKS

violation, and (2) there can be no "knowing" violation where the controlling law is unclear.

(Dkt. No. 277-1 at 21-27). Neither of these arguments has merit.




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       First, "criminal intent" to violate the AKS is not the applicable standard. Instead, the

AKS punishes "knowing and willful" violations. 42 U.S.C. § 1320a-7a(h) ("[A] person need not

have actual knowledge of this section or specific intent to commit a violation of this

section ...."). The defendants need only have acted with a wrongful purpose. See United States

v. Jain, 93 F.3d 436, 441 (8th Cir. 1996). Moreover, in FCA cases involving AKS violations,

courts have found scienter where one purpose of the remuneration was to induce referrals. See

Feldstein v. Nash Cmty. Health Servs., Inc., 51 F. Supp. 2d 673, 681 (E.D.N.C. 1999); cf Us. ex

rei. Sharp v. E. Oklahoma Orthopedic Ctr., No. 05-CV-572-TCK-TLW, 2009 WL 499375, at

*25 (N.D. Okla. Feb. 27,2009) (holding that test for whether copay waiver constituted

remuneration is whether one purpose was to induce patient referrals).

       Here, Su Kim's affidavit    (~~   11, 12, 14,24,25,28), the application (Dkt. No. 173 at 20­

26), and the declarations of Defendants Dent (Dkt. No. 277-2 at ~ 4,5, 7, 9, 11) and Johnson

(Dkt. No. 277-3 at ~ 3, 4, 6, 7, 8, 13) themselves support the conclusion that one of the purposes

of the sales agreements at issue was to create referrals. This satisfies the scienter requirement for

our present procedural purposes.

   d. Argument #4: Defendants acted in good faith on advice ofcounsel

       In addition to directly attacking the probable validity of the claim, § 3101(d)(2)(A)

permits parties challenging prejudgment remedies to address any defenses that may be available.

Defendants assert an advice-of-counsel defense.

       To establish an advice-of-counsel defense, Defendants "must show the (a) full disclosure

of all pertinent facts to counsel, and (b) good faith reliance on counsel's advice."   us. ex reI.
Drakefordv. Tuomey, 792 F.3d 364,381 (4th Cir. 2015) (internal quotation marks and

alterations omitted). Unwritten but understood is the assumption that counsel's advice will have



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in some way related to the underlying actions or activities at issue. Here, Defendant's attorney

provided no such advice.

       Gene Sellers was the attorney who reviewed BlueWave's sales agreements with HDL and

Singulex and advised BlueWave, Johnson, and Dent. (Dkt. No. 277-4 at 2). In Sellers' own

words, "[his] involvement was to make sure the agreement complied with the tenns negotiated

between the parties and complied with the business plan of [his] clients. In other words, it was

[Sellers'] understanding, based on what [he] had been told, that [BlueWave's agreements with

HDL and Singulex] [were] compliant with all health care laws, and [he] recommended to

BlueWave, Johnson, and Dent to execute [the agreements.]" (Dkt. No. 277-4 at ~ 5). Sellers

expressly did not advise on health care law compliance: "It was [Sellers'] understanding that

HDL and HDL attorneys would make sure the terms of the agreement complied with health care

laws." (/d.). Sellers also notes that he "became aware" of a legal opinion by Mike Ruggio

which "opined that [processing and handling] fees paid by labs to physicians at fair market value

were lawful." (/d. at ~ 7).

       Sellers simply did not provide any advice regarding the legality of the agreements vis-a­

vis the healthcare laws. Furthennore, the Ruggio legal opinion was written two years after

BlueWave, Dent, and Johnson entered into the agreements with HDL and Singulex, so it could

not have formed the basis for Sellers' advice. Finally, the compliance audit Defendants

participated in and their cooperation with the Government's investigation are irrelevant with

respect to the advice-of-counsel defense. For these reasons, Defendants' attempted assertion of

the advice-of-counsel defense does not place the validity of the Government's claim for debt in

dispute.




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       In sum, the Kim affidavit sets forth sufficient facts with enough particularity to satisfy the

Court as to the probable validity ofthe Government's claim for debt, and Defendants have not

presented any evidence that puts the Government's particularized assertions in dispute.

Defendants' statutory and constitutional FDCPA arguments are unavailing, as are their

arguments regarding scienter for FCA claims predicated on AKS violations. Finally, the advice­

of-counsel defense does not affect the writs because Defendants have not established the

necessary elements. Accordingly, the Court finds that the Government has established the

probable validity of the debt and that Defendants BlueWave, Dent, and Johnson are debtors

within the meaning of the FDCP A.

   2. Whether the Government's affidavit states the amount of debt claimed

       Defendants next argue that the affidavit accompanying the Government's application

does not meet the FDCPA's statutory requirements because it failed to "state specifically the

amount of the debt claimed by the United States and any interest or costs attributable to such

debt," as required by 28 U.S.C. § 3101(c)(2)(A). (Dkt. No. 177-1 at 28). During oral argument,

Defendants made it clear that they take issue with the fact that the Government has not specified

the exact amount the Government believes BlueWave received from federal healthcare

programs. This argument is a nonstarter.

       Under a heading titled "Amount of Debt Claimed by the United States - 28 U.S.c.

§ 3101(c)(2)(A)," Kim's declaration states that BlueWave received over $220 million from HDL

and more than $24 million from Singulex, and that Defendants Johnson and Dent received over

$58 million each from BlueWave from 2010-2014. (Dkt. No. 173-3         at~,-r   29-30). Based on the

heading-and allegations contained in the complaint and averments contained in the application

and affidavits-it is clear that the Government's position is that the entirety of the funds derived



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from BlueWave's relationships with HDL and Singulex are subject to recovery if its FCA or

common law claims are meritorious. In its complaint, the Government seeks treble damages and

civil penalties for the FCA claims. To the extent that those claims are ultimately meritorious,

Defendants' debt to the Government would exceed the amounts identified. Nothing in the statute

requires an itemized accounting of the debt; the affidavit need only "state specifically the amount

of debt claimed by the United States." The Court finds that the affidavit satisfies this statutory

requirement.

   3. 	 Whether Defendants disposed of property with the effect of hindering the United
        States

       To secure prejudgment remedies, the Government bears the burden to show that there is

reasonable cause to believe that "the debtor ... has or is about to assign, dispose, remove,

conceal, ill treat, waste, or destroy property with the effect of hindering, delaying, or defrauding

the United States." 28 U.S.c. § 3 101 (b)(1)(B). Defendants argue that they have not taken any

steps that would hinder the Government's post-judgement collection. In light of the facts,

however, the Court reaches the opposite conclusion.

       In its application for prejudgment remedies, the Government identified several property

transactions Defendants Dent and Johnson undertook after the issuance of a HHS OIG subpoena

to Defendant BlueWave in January 2013:

                                          Defendant Dent

   • 	 On May 1, 2013, Dent purchased real property for approximately $1.6 million, and he
       sold it to his wife for $5 that same day. (151 West Circle Drive, Lexington, SC)

   • 	 On August 21, 2013, he sold a parcel of land that he had purchased for $2.75 million to
       his wife for $5. (2 Panorama Point Drive, Lexington, SC)

   • 	 On February 20, 2014, Dent sold an additional six properties to his wife for $5. He also
       sold an island to one of his wife's newly formed corporate entities for $5. (Lake Murray)



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   • 	 On July 19,2014, Defendant Dent sold a property in Columbia, South Carolina, held in
       his own name to CAE Properties for $5. Dent's father is the listed agent for CAE
       Properties. (3318 Blossom Street, Columbia, SC)

(Dkt. No. 173 at 27-28).

                                        Defendant Johnson

   • 	 On April 5,2013, Johnson sold a single-family home for $390,000. (1294 Adams Road,
       Blountsville, AL)

   • 	 On June 23, 2014, Johnson changed the ownership of his home from sole ownership to
       joint ownership with right of survivorship with his wife for $1. On June 30, 2015,
       Johnson sold this property for $562,000. (106 View Point Circle, Hanceville, AL)

(Dkt. No. 173 at 28-29).

       The application and affidavits also assert that BlueWave's cash-on-hand is regularly

dissipated. (Dkt. No. 173 at 30). BlueWave reported $74 million in gross income in 2013. In

November 2014, BlueWave's bank account listed that it had $181,840 in available cash. And

since 2013, BlueWave has deposited $5.4 million into Cobalt's account (a medical marketing

company started by Johnson that operates in the same space that BlueWave formerly occupied).

       Defendants do not dispute that these transactions took place. Instead they argue that

there was no intent to conceal or convert assets or to hinder any post-judgement collection

efforts. But § 3101(b) "contains no 'intent' requirement." United States v. Teeven, No. CIV. A.

92-418 LON, 1992 WL 683683, at *7 (D. Del. Aug. 14, 1992). Debtors need only "assign,

dispose, remove, conceal, ill-treat, waste, or destroy property with the effect of hindering,

delaying, or defrauding the United States." § 3101(b)(I)(B). Here, all of the Defendants have

disposed of property. Defendants Dent and Johnson disposed ofreal properties via sale, and

"[t]he sale of the properties, inter alia, would surely have the effect of hindering the recovery of

the debt by the United States." United States v. Teeven, No. ClV. A. 92-418 LON, 1992 WL

683683, at *8 (D. Del. Aug. 14, 1992). Defendant BlueWave has disposed of funds (i.e.,


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personal property) by making transfers into other accounts; "[l]iquid assets are easily hidden."

fa.   Thus, Defendants disposed of property with the effect of hindering the United States, and

attachment is proper to the extent the Government meets other statutory requirements and

Defendants have a substantial nonexempt interest in the property the Government seeks to attach.

      4. 	 Whether the Government satisfied 28 U.S.C. § 3102(b)'s requirements

         In relevant part, § 31 02(b) provides that

         a court shall issue a writ authorizing the United States to attach property in which
         the debtor has a substantial nonexempt interest, as security for such judgment
         (and interest and costs) as the United States may recover on a claim for a debt ...
         in an action against the debtor for damages in tort [or] ... in an action to recover a
         fine, penalty, or tax.

Defendants argue that they are not debtors, the Government has brought no tort action, and that

the Government's causes of action do not seek solely to recover a fine, penalty, or tax. (Dkt. no.

277-1 at 28-29).

         For the reasons discussed above pertaining to the probable validity of the Government's

claim for debt, the Court rejects Defendants' argument that they are not debtors within the

meaning ofthe FDCP A. Further, because FCA claims sound in tort, Us. ex reI. Westmoreland

v. Amgen, Inc., 738 F. Supp. 2d 267,271-72 (D. Mass. 2010), and carry the possibility of civil

penalties, the Court disregards Defendants' arguments that the present action does not meet the

statutory requirements remaining requirements.

      5. 	 Whether Defendants Johnson and Dent have a substantial nonexempt interest in
           property owned by the Johnson- and Dent-related Entities

         The Johnson- and Dent-related Entities and Christina Dent seek to quash 57 prejudgment

writs issued against real property they hold. (Dkt. Nos. 274, 278). Ms. Dent and these entities

are not parties to the underlying litigation, and the application and affidavits have not established

that they are debtors within the meaning of the FDCPA. However, § 3102(b) provides that "a


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court shall issue a writ authorizing the United States to attach property in which the debtor has a

substantial nonexempt interest." (emphasis added). As discussed above, Defendants Dent and

Johnson are debtors within the context of the FDCPA. Accordingly, to the extent that

Defendants Dent or Johnson has a substantial nonexempt interest in the property at issue, that

property is subj ect to attachment. See 28 U. S. C. § 3 102(a)( 1) (FDCP A permits attachment on

any property "in the possession, custody, or control of the debtor and in which the debtor has a

substantial nonexempt interest").

       To determine whether a substantial nonexempt property interest exists under the FDCPA,

the Court looks to state law, which is the source of property rights. See Exp.-Imp. Bank of us. v.

Asia Pulp & Paper Co., 609 F.3d 111, 117 (2d Cir. 2010) (noting that the FDCPA "creates no

property rights but merely attaches consequences, federally defined, to rights created under state

law") quoting United States v. Craft, 535 U.S. 274,278 (2002); see also Stop the Beach

Renourishment, Inc. v. Florida Dep't ofEnvtl. Prot., 560 U.S. 702, 707 (2010)("Generally

speaking, state law defines property interests ...."). The Government has asserted an alter ego

theory of liability against the Johnson-related Entities and a nominee theory of liability against

Christina Dent and the Dent-related Entities. All but one of the Johnson-related Entities are

Alabama limited liability companies, and the real property associated with the writs at issue is all

located in Alabama. The Dent-related Entities are South Carolina limited liability companies,

Christina Dent is a South Carolina resident, and the property associated with the writs at issue is

located in South Carolina. Accordingly, the Court looks to Alabama and South Carolina state

law, respectively, to determine whether the law recognizes such property interests.

       Alabama recognizes property rights created pursuant to alter ego theories. See Mama's

Enters., LLC v. United States, 883 F. Supp 2d 1128, 1135 (N.D. Ala. 2012) (declining to lift tax



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liens on alter egos); United States v. Vito, No. 99-0630-RV -S, 200 U.S. Dist. LEXIS 11258, at

*2-3 (S.D. Ala. July 13, 2000) (imposing federal tax liens on property held in name of

defendant's alter ego and/or nominee corporation). Under Alabama law, the Government must

show three factors to impose liability under an alter-ego theory:

       1) The dominant party must have complete control and domination of the
       subservient corporation's finances, policy and business practices so that[,] at the
       time ofthe attacked transaction[,] the subservient corporation had no separate
       mind, will, or existence of its own;

       2) The control must have been misused by the dominant party. Although fraud or
       the violation of a statutory or other positive legal duty is misuse of control, when
       it is necessary to prevent injustice or inequitable circumstances, misuse of control
       will be presumed;

       3) The misuse of this control must proximately cause the harm or unjust loss
       complained of.

Messick v. Moring, 514 So.2d 892 (Ala. 1987). For the purposes ofthe FDCPA, the Government

has established all of these factors with respect to the Johnson-related Entities.

       Defendant Johnson, by his own admission, exercised control over the Johnson-related

Entities. (See Dkt. No. 274-17 (Johnson's declaration outlining his involvement with the

formation and direction of the Johnson-related Entities)). Johnson registered all ofthe entities,

lists himself as having a principal role in all ofthem, operated all but Forse Investments out of

the same location, recently changed many of their registered agents to his accountant, and moved

properties between and among them with little to no consideration. (Dkt. No. 173 at 30-35).

The Court does not find that fraud has occurred, but the Court presumes misuse of control for the

purpose of avoiding the inequitable circumstance in which the Government is unable to collect

its debt. Finally, the misuse of control-that is, the transfer of properties and funds to the

Johnson-related Entities-is the proximate cause of the "hindrance" the Government complains




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of. Accordingly, Defendant Johnson has a substantial interest in the Johnson-related Entities,
                                                                                                4
and under the alter-ego theory, the FDCPA permits attachment of the 47 properties at issue.

       Turning to Christina Dent and the Dent-related Entities, the Court finds that the

Government has not cited South Carolina precedent in briefing or oral argument that stands for

the proposition that a party can have a beneficial interest in property pursuant to a nominee

theory of liability. 5 Furthermore, although South Carolina recognizes alter ego claims, see Drury

Dev. Corp. v. Found. Ins. Co., 668 S.E.2d 798, 799 (2008), the Government has failed to

establish that the Dent-related Entities are alter egos of Defendant Dent. The Court therefore

finds that the Government has not demonstrated that Defendant Dent has a substantial

nonexempt interest in the property within the meaning of Subchapter B of the FDCPA.

Accordingly, prejudgment remedies under Subchapter B are improper insofar as they relate to

the 10 writs challenged by Christina Dent and the Dent-related Entities.




4 The Johnson-related Entities argue that the Government's application and affidavits should be
disregarded because they contain several incorrect and misleading statements. (See Dkt. No. 274
at 2-14). In litigation as complex and document-heavy as this, it is not beyond the pale that the
litigation within the litigation-that is, these FDCPA prejudgment filings and proceedings-will
contain errors such as incorrect dates or duplicative documents. The Government has either
corrected or walked back from these statements, and the Court does not find these examples to
be so egregious as to render the application and affidavits unreliable. The fact of matter is that
the Government need not rely on any of these statements to establish that there is reasonable
cause to believe that Defendants have disposed of property with the effect of hindering the
United States. See supra discussion regarding disposal of property.
5 Although South Carolina state law does not yet appear to recognize nominee theory, it is
among states that recognize that a party may hold title in trust for a beneficial owner through
theories such as resulting or constructive trusts. See Holman v. United States, 505 F .3d 1060,
1067-68 (10th Cir. 2007) (noting resulting and constructive trust theories can support a nominee
lien). Because the Government has not briefed or argued whether such trusts give rise to a
property interest under South Carolina law, the Court declines to find that such an interest exists.
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                     IV.     Prejudgment Remedies Under Subchapter D

       The Government also applied for prejudgment remedies against property held by

Christina Dent and the Dent-related Entities pursuant to Subchapter D of the FDCPA. Under

Subchapter D, a transfer is fraudulent

       if the debtor makes the transfer ... (A) with actual intent to hinder, delay or
       defraud a creditor; or (B) without receiving a reasonably equivalent value in
       exchange for the transfer or obligation if the debtor ... reasonably should have
       believed that he would incur[] debts beyond his ability to pay as they became due.

28 U.S.C. § 3304(b)(I). Once a fraudulent transfer is established, the Government may seek

"any ... relief the circumstances may require." Id. § 3306(a)(3).

       Defendant Dent received the HHS OIG subpoena in January 2013. On May 1,2013,

Dent purchased real property for approximately $1.6 million, and he sold it to his wife for $5 that

same day (151 West Circle Drive, Lexington, SC). On August 21, 2013, he sold a parcel of land

that he had purchased for $2.75 million to his wife for $5 (2 Panorama Point Drive, Lexington,

SC). On February 20, 2014, Dent sold an additional six properties to his wife for $5 (631

Panorama Point). He also sold an island to one of his wife's newly formed corporate entities for

$5 (Lake Murray). This fact pattern clearly establishes fraudulent transfers that satisfy the

definitions found in §§ 3304(b)(I)(A) and (B).

       The Court finds the fact that the transfers were to an insider (i.e., Dent's wife or one of

her newly formed corporate entities), the timing of the transfers, and the fact that Dent did not

receive an amount reasonably equivalent of the transferred assets to be probative of Defendant

Dent's intent to hinder the Government's collection. See id. § 3304(b)(2). In addition, the

subpoena put Defendant Dent on notice regarding the debt to the Government. Although he

may not have known the precise contours of the Government's claims, he should have known

that they existed and potentially SUbjected him to liability. And because § 3306(a) authorizes


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equitable relief against the fraudulently transferred property, the transferee, or as required by the

circumstances, the Court finds that the writs of attachment are appropriate.

       Christina Dent briefly argues that South Carolina's homestead exemption, S.C. Code

Ann. § 15-41-30, should apply to the property at 631 Panorama Point. (Dkt. No. 278-1 at 16

n.3). However, the homestead exemption does not apply here because the exemption is not

available when the transfer is fraudulent. See In re Lafferty, 469 B.R. 234, 245-46 (Bankr.

D.S.C.2012).

                                          V. Conclusion

       For the abovementioned reasons, the Court DENIES Defendants BlueWave, Dent, and

Johnson's Motion to Quash FDCPA Prejudgment Remedies (Dkt. No. 277); the Johnson-related

Entities' Motion to Quash (Dkt. No. 274); and the Dent-related Entities' Motion to Dissolve

Prejudgment Attachments (Dkt. No. 278). The Court GRANTS Government's motion to

amend/correct writ issued. (Dkt. No. 194).

       AND IT IS SO ORDERED. 



                                                         Richard Mark G rgel
                                                         United States District Court Judge

May 12_,2016
Charleston, South Carolina




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